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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
RCH:AXB/LAZ                                       610 Federal Plaza
F. #2022R01030                                    Central Islip, New York 11722


                                                  January 22, 2024

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (S-1) (JS)

Dear Judge Seybert:

              The parties respectfully submit this proposed joint agenda for the status
conference in the above-captioned matter scheduled for January 23, 2024 at 10:30 a.m.

    Production of Rule 16 Material: The government continues to produce discoverable
     material to the defendant on a rolling basis pursuant to Federal Rule of Criminal
     Procedure 16. The government has made prior productions of material to the defendant
     on June 27, 2023, September 1, 2023, October 27, 2023 and December 13, 2023. The
     government anticipates making a smaller production of approximately 6,000 pages of
     material to the defendant tomorrow. The government will continue to produce
     discoverable material on a rolling basis.

    Pre-Trial Schedule: The parties jointly request that the Court set a pre-trial schedule in
     this matter, including dates for expert disclosures, motions in limine, the identification
     of witnesses and exhibits, the production of materials pursuant to 18 U.S.C. § 3500 and
     Federal Rule of Criminal Procedure 26.2, and a final pre-trial conference. The parties
     agree on the following schedule:

      o Pre-Trial Motions:
            Initial Defense Brief Due – April 26, 2024
            Government Response Due – May 24, 2024
            Defense Reply Due – June 7, 2024

      o Expert Disclosures Pursuant to Rule 16(a)(1)(G):
                Initial Expert Disclosures – July 12, 2024
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                   Rebuttal Expert Disclosures – July 26, 2024

       o Initial Motions in Limine:
              Initial Briefs Due – August 2, 2024
              Responses Due – August 16, 2024
              Replies Due – August 23, 2024

       o Final Pretrial Conference: August 30, 2024

       The parties only disagree as to the date upon which they shall disclose their list of
       witnesses, exhibits, and prior statements of witnesses pursuant to 18 U.S.C. § 3500 and
       Federal Rule of Criminal Procedure 26.2. The government proposes a date of August
       19, 2024, three weeks prior to the start of trial, while defense counsel proposes August
       2, 2024, five weeks prior to the start of trial.1

    Next Status Conference – The parties believe there is no need to set a status conference
     if the Court sets a pretrial motion schedule. The parties jointly request that the Court
     enter an order of excludable delay for the period between January 23, 2024 and the date
     of the final pretrial conference on August 30, 2024 to permit the defendant adequate
     time to review the materials produced pursuant to Federal Rule of Criminal Procedure




       1
        The government respectfully notes that, as Your Honor has previously stated, courts
are “without authority to order the government to disclose Jencks material prior to trial.”
United States v. Hatfield, 06 CR 550 (JS), 2009 WL 10673620, at *5 (E.D.N.Y. July 10, 2009).
Courts have further noted that disclosure of such material two weeks in advance of trial
“comports closely with disclosures approved in other cases.” United States v. Barrett, 153 F.
Supp. 3d 552, 574 (E.D.N.Y. 2015).

         Furthermore, “[a] defendant is not entitled to the government’s witness list prior to
trial,” United States v. Giffen, 379 F. Supp. 2d 337, 34 (S.D.N.Y. 2004), and, as Judge Cogan
has written, “[t]he government has no obligation to identify exhibits before trial and courts
consistently have held that the government satisfies its obligation by disclosing its exhibits
together with its witnesses’ 3500 material.” United States v. Persing, 06 CR 815 (BMC), 2008
WL 11344620, at *5 (E.D.N.Y. May 6, 2008). Here, the government’s proposed schedule
exceeds its legal obligations and will be more than adequate given that trial is not expected to
exceed three weeks in length, nor include an inordinately voluminous number of witnesses or
exhibits.

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      16 and for the parties to pursue plea negotiations. The parties respectfully submit that
      the ends of justice served by such an excludable delay outweigh the best interests of the
      public and the defendant in a speedy trial.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:      /s/
                                                  Ryan C. Harris
                                                  Anthony Bagnuola
                                                  Laura Zuckerwise
                                                  Assistant U.S. Attorneys

                                                  COREY R. AMUNDSON
                                                  Chief, Public Integrity Section
                                                  U.S. Department of Justice

                                           By:      /s/
                                                  Jacob R. Steiner
                                                  John P. Taddei
                                                  Trial Attorneys

cc:   Joseph Murray Esq. (by ECF)
      Clerk of the Court (JS) (by ECF)




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